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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

MARTIN G. ANDRADE, Case No.: 3:20-cv-01147-MMA-RBM
| Petitioner,
ORDER GRANTING
v. _ | RESPONDENT’S APPLICATION
FOR EXTENSION OF TIME TO
RAYBON JOHNSON, Warden, FILE ANSWER TO PETITION
Respondent.
[Doc. 14]

 

 

On March 30, 2021, the undersigned issued an order requiring a response to the
petition for writ of habeas corpus (“Petition”), (Doc. 13.) The undersigned ordered
Respondent, Raybon Johnson (“Respondent”), file and serve an answer to the Petition no
later than June 1, 2021. (/d at 1.) Additionally, Petitioner, Martin Gabriel Andrade
(“Petitioner”), may file a traverse to matters raised in the answer no later than July 1, 2021.
(7d. at 2.) .

On May 24, 2021, Respondent filed an application for enlargement of time to file an
answer to the Petition. (Doc. 14.) Specifically, Respondent seeks a thirty-day enlargement
of time to July 2, 2021, to file an answer. (/d. at 2.) Respondent’s counsel alleges an
enlargement of time is necessary because counsel has been unable to begin drafting the

answer due to demands of her current caseload. (/d.)

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Good cause appearing, the application is GRANTED. Accordingly, IT IS
ORDERED that: | |

lL. Respondent must file and serve an answer to the Petition, and a memorandum
of points and authorities in support of such answer, pursuant to Rule 5 of the Rules
Goveming § 2254 Cases no later than July 2, 2021. At the time the answer is filed,
Respondent must lodge with the Court all records bearing on the merits of Petitioner’s
claims. The lodgments must be accompanied by a notice of lodgment which must be

captioned “Notice of Lodgment in 28 U.S.C. § 2254 Habeas Corpus Case — To Be Sent

|}to Clerk’s Office.” Respondent must not combine separate pleadings, orders or other | -

items into a combined lodgment entry. Each item must be numbered separately and
sequentially. |

2. Petitioner may file a traverse to matters raised in the answer no later than
August 2, 2021. Any traverse by Petitioner (a) must state whether Petitioner admits or
denies each allegation of fact contained in the answer; (b) must be limited to facts or
arguments responsive to matters raised in the answer; and (c) must not raise new grounds

for relief that were not asserted in the Petition. Grounds for relief withheld until the

| traverse will not be considered. No traverse can exceed ten (10) pages in length absent

advance leave of Court for good cause shown.

3. A request by a party for an extension of time within which to file any of the
pleadings required by this Order must be made at least seven (7) days in advance of the
due date of the pleading, and the Court will grant such a request only upon a showing of
good cause. Any such request must be accompanied by a declaration under penalty of
perjury explaining why an extension of time is necessary.

4, Unless otherwise ordered by the Court, this case will be deemed submitted on
the day following the date Petitioner’s traverse is due.

5. | Every document delivered to the Court must include a certificate of service
attesting that a copy of such document was served on opposing counsel (or on the opposing

party, if such party is not represented by counsel). Any document delivered to the Court

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without a certificate of service will be returned to the submitting party and will be
disregarded by the Court. |
- 6. Petitioner must immediately notify the Court and counsel for Respondent of
any change of Petitioner’s address. If Petitioner fails to keep the Court informed of where
Petitioner may be contacted, this action will be subject to dismissal for failure to prosecute.
IT IS SO ORDERED.
DATE: May 25, 2021

 

HON. RUTH BER(IUDEZ MONTENEGRO
UNITED STATES MAGISTRATE JUDGE

 

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